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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

TERESA BLOODMAN                                                                     PLAINTIFF

v.                              Case No. 4:18-cv-00282-KGB

ARKANSAS SUPREME
COURT COMMITTEE ON
PROFESSIONAL CONDUCT, et al.                                                    DEFENDANTS

                                         JUDGMENT

       Consistent with the Order that was entered on this day, the Court grants defendants’ motion

to dismiss (Dkt. No. 3). Also consistent with that Order, the Court dismisses Ms. Bloodman’s

claims; the relief requested by Ms. Bloodman is denied.

       So ordered this 14th day of March, 2019.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
